      Case: 4:10-cr-00056-MPM-DAS Doc #: 90 Filed: 07/19/10 1 of 2 PageID #: 186




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

UNITED STATES OF AMERICA,

VS.                                                    CRIMINAL ACTION NO. 4:10CR056-P-S

CLIFTON GALES,
DERRICK REID,
ANITA ALLEN,
KENNETH KING, JR.,
CLEVELAND JOHNSON,
WARREN KNIGHT,
DAMION ANTHONY REID, and
ROMANDA MATTHEWS,                                                              DEFENDANTS.

                                 ORDER CONTINUING TRIAL

        This matter comes before the court upon Defendant Clifton Gales’s July 15, 2010 motion to

continue trial [89]. After due consideration of the motion, the court finds as follows, to-wit:

        Trial is currently set for August 16, 2010. Defense counsel requests a continuance to afford

more time to engage in negotiations with the Government. The Government has no objection to the

continuance.

        The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(7)(A), the period of delay from August 16, 2010 until the new trial date to be set in this

matter. The time is excludable under subsection (h)(7)(A) because, given the circumstances

described above, a continuance is necessary to afford the defendant’s counsel more time to

adequately prepare for his client’s defense. As such, the ends of justice served by the granting of this

continuance outweigh the best interests of the public and the defendant in a speedy trial. The time

is also excludable as to Defendant Gales’s co-defendants pursuant to 18 U.S.C. section 3161(h)(6)

because the period of delay is reasonable and no motion for severance has been granted.

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    Case: 4:10-cr-00056-MPM-DAS Doc #: 90 Filed: 07/19/10 2 of 2 PageID #: 187




       IT IS THEREFORE ORDERED AND ADJUDGED that:

       (1 Defendant Clifton Gales’s July 15, 2010 motion to continue trial [89] is GRANTED;

       (2) Trial of this matter is continued as to all defendants until Monday, October 4, 2010 at

9:00 a.m. in the United States Courthouse in Greenville, Mississippi;

       (3) The delay from August 16, 2010 to October 4, 2010 is excluded from Speedy Trial Act

considerations as set out above;

       (4) The deadline for filing pretrial motions is September 13, 2010; and

       (5) The deadline for submitting a plea agreement is September 20, 2010.

       SO ORDERED this the 19th day of July, A.D., 2010.

                                                    /s/ W. Allen Pepper, Jr.
                                                    W. ALLEN PEPPER, JR.
                                                    UNITED STATES DISTRICT JUDGE




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